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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ALEX YOUNG,

                       Plaintiff,
                                                   Civil Action No. 14-1203 (BAH)
                       v.
                                                   Judge Beryl A. Howell
RICHARD SARLES, General Manager,
Washington Metropolitan Area Transit
Authority

                       Defendant.

       ORDER CONTROLLING PRELIMINARY INJUNCTION PROCEEDINGS

       In light of the plaintiff’s Motion for Preliminary Injunction, ECF No. 2, and to facilitate

the expeditious briefing and resolution of that motion, it is hereby

       ORDERED that, the plaintiff shall, by 5:00 p.m. on July 21, 2014, (1) submit proof of

service of the Complaint and Motion for Preliminary Injunction on the Defendant; and (2) confer

with the opposing counsel regarding a mutually agreeable schedule to govern the preliminary

injunction proceedings; and it is further

       ORDERED that the plaintiff shall submit, simultaneously with the required proof of

service, a joint proposed schedule that includes (1) the date by which the defendant shall submit

an opposition, if any, to the plaintiff’s Motion for Preliminary Injunction; (2) the date by which

either party shall seek permission for submission of any supplemental affidavits or briefing, see

LCvR 65.1(c); and (3) at least three dates on which the parties are available for a hearing on the

motion if such a hearing is requested pursuant to Local Civil Rule 65.1(d).

       SO ORDERED.                                                       Digitally signed by Beryl A.
                                                                         Howell
                                                                         DN: cn=Beryl A. Howell,
                                                                         o=District Court for the District
                                                                         of Columbia, ou=District Court

       DATE: July 17, 2014                                               Judge,
                                                                         email=howell_chambers@dcd.us
                                                                         courts.gov, c=US
                                                                         Date: 2014.07.17 11:55:22 -04'00'



                                                              BERYL A. HOWELL
                                                              United States District Judge
